                                 UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF KANSAS

IN RE:                                                              }           CASE NUMBER: 16-10446
           ABENGOA BIOENERGY BIOMASS OF                             }
           KANSAS, LLC                                              }
                                                                    }           JUDGE Robert E. Nugent
                                                                    }
           DEBTOR.                                                  }           CHAPTER 11




                                             DEBTOR'S POST-CONFIRMATION
                                             QUARTERLY OPERATING REPORT
                                                     FOR THE PERIOD
                        FROM                     1/1/2019      TO    3/31/2019



   Comes now the above-named debtor and files its Post-Confirmation Quarterly Operating Report in accordance with the
Guidelines established by the United States Trustee and FRBP 2015.



  Dated:    4/10/2019                                                                      /s/ Michael A. VanNiel
                                                                                           Attorney for Liquidating Trustee




           Liquidating Trustee's Address                                                   Attorney's Address
           and Phone Number:                                                               and Phone Number:
           ABBK Liquidating Trust                                                          Michael A. VanNiel
           8586 Rosewood Lane                                                              BAKER & HOSTETLER LLP
           Mentor, OH 44060                                                                Key Tower
                                                                                           127 Public Square, Suite 2000
           Tel. 216/533-5313                                                               Cleveland, Ohio 44114-1214
                                                                                           Bar # OH 0073948 (admitted pro hac vice)
                                                                                           Phone: (216) 621-0200

Note: The original Post Confirmation Quarterly Operating Report is to be filed with the Court and a copy simultaneously provided to the
United States Trustee. Operating Reports must be filed by the last day of the month following the reporting period.

For assistance in preparing the Post Confirmation Quarterly Operating Report, refer to the following resources on the United States
Trustee website: http://www.justice.gov/ust/r20/index.htm.
1) Instructions for Preparing Debtor's Chapter 11 Post confirmation Quarterly Operating Report
2) Initial Filing Requirements
3) Frequently Asked Questions (FAQs)




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      MONTHLY OPERATING REPORT -                                                                                                                       ATTACHMENT NO. 1
      POST CONFIRMATION



                                                              QUESTIONNAIRE
                                                                                                                                            YES*              NO
1.     Have any assets been sold or transferred outside the normal course of business, or outside
       the Plan of Reorganization during this reporting period?                                                                                                   X
2.     Are any post-confirmation sales or payroll taxes past due?
                                                                                                                                                                  X
3.     Are any amounts owed to post-confirmation creditors/vendors over 90 days delinquent?
                                                                                                                                                                  X
4.     Is the Debtor current on all post-confirmation plan payments?
                                                                                                                                               X


               *If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.




                                                      INSURANCE INFORMATION
                                                                                                                                             YES             NO*
1.     Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
       compensation, and other necessary insurance coverages in effect?                                                                        X
2.     Are all premium payments current?
                                                                                                                              X
                *If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet.




                                                                        CONFIRMATION OF INSURANCE
                                                                                                                                             Payment Amount           Delinquency
                        TYPE of POLICY               and            CARRIER                                   Period of Coverage              and Frequency            Amount

       Misc. Professional Liability: Carrier - Crum & Foster                                              3/30/19 - 3/30/20                  $10,275 Annual              None
       Excess Professional Liability; Carrier - Great Ameerican                                           3/30/19 - 3/30/20                   $2,000 Annual              None




                          DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:
       During the reporting period, the Plan and Liquidating Trust Agreement were substantially consummated through, without limitation, the occurrence of
       following: entry into an agreement with Drivetrain concerning certain matters pending in the District Court which have been stayed, which agreement was
       approved and implemented by an agreed order of the District Court, and the submission of pleadings in the Appellate Court in a second appeal by
       Drivetrain, LLC of the Mootness ruling by the District Court.



       A final decree cannot be entered at this time because certain contested matters have not yet been finally resolved (see LBR 3022.1(b)(6)), specifically:
       there are several appeals of orders of the United States Bankruptcy Court for the District of Kansas that were filed by Drivetrain, LLC and that remain
       pending in the Tenth Circuit Court of Appeals. The ABBK Liquidating Trustee intends to promptly move for entry of a final decree after resolution of
       those open matters.

     Estimated Date of Filing the Application for Final Decree: _SEE DETAIL ABOVE__________




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     MONTHLY OPERATING REPORT -                                                                                ATTACHMENT NO. 2
     POST CONFIRMATION


                               CHAPTER 11 POST-CONFIRMATION
                           SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                                           Jan-19


Case Name:      16-10446
                ABENGOA BIOENERGY BIOMASS OF
Debtor:         KANSAS, LLC

Date of Plan Confirmation: 3/29/18

               All items must be answered. Any which do not apply should be answered “none” or “N/A”.


                                                                       Monthly          Post Confirmation Total
1.   CASH (Beginning of Period)                            $             2,055,022.43 $            19,319,176.04


2.   INCOME or RECEIPTS during the Period                  $                    237.78 $                     9,704.99


3.   DISBURSEMENTS
     a.   Operating Expenses (Fees/Taxes):
          (i)   U.S. Trustee Quarterly Fees                $                      0.00 $                  176,736.55
          (ii)  Federal Taxes                                                     none                          none
          (iii) State Taxes                                                       none                          none
          (iv) Other Taxes                                                        none                          none

     b.   All Other Operating Expenses:                    $                      none $                        none

     c.   Plan Payments:
          (i)   Administrative Claims                      $                 20,213.05 $                 2,676,298.13
          (ii)  Priority Claims                                                   0.00                      95,464.65
          (iii) Class One                                                         0.00                           0.00
          (iv) Class Two                                                          0.00                  14,345,334.54
          (v)   Class Three                                                       none                           none
          (vi) Class Four                                                         none                           none
                (Attach additional pages as needed)

     Total Disbursements (Operating & Plan)                $                 20,213.05 $                17,293,833.87
                                                                                  0.00                           0.00
1.   CASH (End of Period)                                  $              2,035,047.16 $                 2,035,047.16
                                                                                                                 0.00




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     MONTHLY OPERATING REPORT -                                                                           ATTACHMENT NO. 2
     POST CONFIRMATION

                              CHAPTER 11 POST-CONFIRMATION
                          SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                                          Feb-19


Case Name:      16-10446
                ABENGOA BIOENERGY BIOMASS OF
Debtor:         KANSAS, LLC

Date of Plan Confirmation: 3/29/18

               All items must be answered. Any which do not apply should be answered “none” or “N/A”.


                                                                       Monthly          Post Confirmation Total
1.   CASH (Beginning of Period)                            $             2,035,047.16 $            19,319,176.04


2.   INCOME or RECEIPTS during the Period                  $                    207.40 $                     9,912.39


3.   DISBURSEMENTS
     a.   Operating Expenses (Fees/Taxes):
          (i)   U.S. Trustee Quarterly Fees                $                  4,875.00 $                  181,611.55
          (ii)  Federal Taxes                                                     none                          none
          (iii) State Taxes                                                       none                          none
          (iv) Other Taxes                                                        none                          none

     b.   All Other Operating Expenses:                    $                      none $                        none

     c.   Plan Payments:
          (i)   Administrative Claims                      $                 70,077.45 $                 2,746,375.58
          (ii)  Priority Claims                                                   0.00                      95,464.65
          (iii) Class One                                                         0.00                           0.00
          (iv) Class Two                                                          0.00                  14,345,334.54
          (v)   Class Three                                                       none                           none
          (vi) Class Four                                                         none                           none
                (Attach additional pages as needed)

     Total Disbursements (Operating & Plan)                $                 74,952.45 $                17,368,786.32
                                                                                  0.00                           0.00
1.   CASH (End of Period)                                  $              1,960,302.11 $                 1,960,302.11




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     MONTHLY OPERATING REPORT -                                                                ATTACHMENT NO. 2
     POST CONFIRMATION

                               CHAPTER 11 POST-CONFIRMATION
                           SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                                           Mar-19


Case Name:      16-10446
                ABENGOA BIOENERGY BIOMASS OF
Debtor:         KANSAS, LLC

Date of Plan Confirmation: 3/29/18

               All items must be answered. Any which do not apply should be answered “none” or “N/A”.


                                                                       Monthly          Post Confirmation Total
1.   CASH (Beginning of Period)                             $            1,960,302.11 $            19,319,176.04


2.   INCOME or RECEIPTS during the Period                   $                   220.49 $                   10,132.88


3.   DISBURSEMENTS
     a.   Operating Expenses (Fees/Taxes):
          (i)   U.S. Trustee Quarterly Fees                 $                     0.00 $                  181,611.55
          (ii)  Federal Taxes                                                     none                          none
          (iii) State Taxes                                                       none                          none
          (iv) Other Taxes                                                        none                          none

     b.   All Other Operating Expenses:                     $                     none $                        none

     c.   Plan Payments:
          (i)   Administrative Claims                       $               108,018.81 $                 2,854,394.39
          (ii)  Priority Claims                                                   0.00                      95,464.65
          (iii) Class One                                                         0.00                           none
          (iv) Class Two*                                                         0.00                  14,345,334.54
          (v)   Class Three                                                       none                           none
          (vi) Class Four                                                         none                           none
                (Attach additional pages as needed)

     Total Disbursements (Operating & Plan)                 $               108,018.81 $                17,476,805.13
                                                                                  0.00                           0.00
1.   CASH (End of Period)                                   $             1,852,503.79 $                 1,852,503.79




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   MONTHLY OPERATING REPORT -                                                            ATTACHMENT NO. 3
   POST CONFIRMATION

                                   CHAPTER 11 POST-CONFIRMATION
                                   BANK ACCOUNT RECONCILIATIONS
                                  Prepare Reconcilation for each Month of the Quarter

Bank Account Information                              Jan-19            Feb-19            Mar-19
                                                      Account           Account           Account
                                                        #1                #1                #1

Name of Bank:                                        KeyBank            KeyBank           KeyBank

Account Number:                                   xxxxxxxx1654       xxxxxxxx1654      xxxxxxxx1654
Purpose of Account (Operating/Payroll/Tax)             Main              Main              Main

Type of Account (e.g. checking)                      Checking           Checking          Checking

1. Balance per Bank Statement                         2,064,586.34      1,986,638.24      1,894,729.30
2. ADD: Deposits not credited                                                                     0.00
3. SUBTRACT: Outstanding Checks                         29,539.18          26,336.13         42,225.51
4. Other Reconciling Items

5. Month End Balance (Must Agree with Books)          2,035,047.16      1,960,302.11      1,852,503.79


Note: Attach copy of each bank statement and bank reconciliation.



Investment Account Information
                                                      Date of           Type of           Purchase       Current
        Bank / Account Name / Number                 Purchase          Instrument          Price          Value
N/A




Note: Attach copy of each investment account statement.




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    MONTHLY OPERATING REPORT -                                                                                                          ATTACHMENT NO. 4
    POST CONFIRMATION


                                                                 CHAPTER 11 POST-CONFIRMATION
                                                            CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank                                                                  KeyBank
Account Number                                                                xxxxxxxx1654
Purpose of Account (Operating/Payroll/Personal)                               Main
Type of Account (e.g., Checking)                                              Checking

  Check        Date of
 Number      Transaction                          Payee                                                Purpose or Description                       Amount
    7258         1/14/2019   Gerson Santos Leon                               Independent Contractor Retainer - 1/1/18 - 3/31/19                     -12,180.00
    7259         1/14/2019   Joseph Abkemeier                                 Independent Contractor Retainer - 1/1/19 - 3/31/19                      -4,830.00
    7260         1/14/2019   Rebecca Prevost                                  Independent Contractor Payments - weeks of 9/9 through 12/23            -2,990.00
    7261         1/25/2019   St. Louis Record Center                          Invoice 190147 - 2/1/19 - 4/30/19                                         -213.05
    7262          2/1/2019   Baker & Hostetler LLP                            December 2018 - Invoice 50588385                                       -55,917.45
    7263          2/1/2019   Kozel & Associates                               Trustee Services - January 2019                                        -11,520.00
    7264         2/11/2019   BDO USA LLP                                      Trustee Services - Invoice 001076685 - December 2018                    -2,640.00
    7265         2/12/2019   U.S. Trustee Payment Center                      Account #8361610446 - 4th Quarter 2018                                  -4,875.00
    7266          3/1/2019   Kozel & Associates                               Trustee Services - February 2019                                        -5,080.00
    7267          3/5/2019   Baker & Hostetler LLP                            January 2019; Invoice 50599609                                         -74,774.43
    7268         3/25/2019   Britton Gallagher & Associates Inc.              Insurance premiums                                                     -12,275.00
    7269         3/31/2019   Baker & Hostetler LLP                            February 2019 - Invoice 50610281                                       -15,889.38




                                                                              TOTAL                                                                 203,184.31


If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.
                                                                              Not Applicable




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